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                           Exhibit L




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                                                                                                                   Page 1
                                            UNITED STATES DISTRICT COURT
                                                                  FOR THE
                         EASTERN DISTRICT OF WASHINGTON
           ______________________________________________________

           NICHOLAS ROLOVICH,              )
                                           )
                           Plaintiff,      )
                                           )
                       v.                  ) No. 2:22-cv-00319-TOR
                                           )
           WASHINGTON STATE UNIVERSITY,    )
                                           )
                           Defendant.      )
           ______________________________________________________

                                   VIDEOTAPED VIDEOCONFERENCE DEPOSITION

                                                   UPON ORAL EXAMINATION OF

                                BONNIE DENNLER
           ______________________________________________________


                                     *AWAITING CONFIDENTIAL DESIGNATIONS*

                                                         Spokane, Washington




           DATE TAKEN:                      AUGUST 21, 2024
           REPORTED BY:                     CINDY M. KOCH, RPR, CRR, CCR #2357

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                                                                                                            Exhibit L Page 2

                                                                                                              51c108eb-f2a1-48c9-a39b-08bef351f92e
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                                                                                                                   Page 95
     1       you'd wanted to scan something in?

     2                   A.       Yes.

     3                   Q.       But I imagine that's also a shared office --

     4                   A.       Yes.

     5                   Q.       -- printer?

     6                            Did the front desk have a separate scanner or

     7       printer that they used?

     8                   A.       There was a -- they had a printer/fax machine

     9       up at the front, but if they were scanning, it would

    10       have been from the Xerox.

    11                   Q.       Okay.           Do you recall when you received this

    12       document?

    13                   A.       I mean specifically, no, but based on the

    14       date...

    15                   Q.       Do you remember what you did when you received

    16       this memo?

    17                   A.       I would have reached out to our attorneys.

    18                   Q.       You say you would have, or you did?

    19                   A.       I did.             I reached out to the attorneys.

    20                   Q.       When did you reach out to the attorneys?

    21                   A.       I can't be 100 percent sure.                                I would be

    22       speculating.                     But I believe it would have been on the

    23       13th of October.

    24                   Q.       Do you know why you would have contacted

    25       attorneys, but not scanned the document in for another


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                                                                                                                 Page 108
     1       looking at -- it's somewhere in the pile.                                             So this was

     2       the procedures that Lisa was proposing to you as final

     3       months later, in December.                                 And when I look at 3A, it

     4       seems to me it's quite specific.                                      "If sincerely

     5       religious belief is confirmed -- good -- HRS will notify

     6       employing department," Exhibit 80, "to determine if an

     7       accommodation would pose an undue hardship or

     8       fundamental altership -- alteration of position."

     9                           3B, "HRS will notify Environmental Health and

    10       Safety of accommodation requests."

    11                           So 3A and 3B are talking about the

    12       accommodation requests, which makes sense because 3 is

    13       reasonable accommodation.

    14                           The process that you're talking about, where

    15       can I find that detailed?

    16                                  MR. COATES:                Object to form.

    17                  A.       I don't know where it would be detailed.

    18       BY MR. KNIFFIN:

    19                  Q.       The October --

    20                  A.       There was a lot that we were working through.

    21       BY MR. KNIFFIN:

    22                  Q.       The October 8 WSU Insider piece that we looked

    23       at, that details the procedures, and that stuff is not

    24       explained there.

    25                           Phil Weiler had extensive interviews with


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                                                                                                                 Page 170
     1                                               C E R T I F I C A T E

     2
     3       STATE OF WASHINGTON

     4       COUNTY OF PIERCE

     5
     6                       I, Cindy M. Koch, a Certified Court Reporter in

     7       and for the State of Washington, do hereby certify that

     8       the foregoing transcript of the deposition of Bonnie

     9       Dennler, having been duly sworn, on August 21, 2024, is

    10       true and accurate to the best of my knowledge, skill and

    11       ability.               Reading and signing was requested pursuant to

    12       FRCP Rule 30(e).

    13                       IN WITNESS WHEREOF, I have hereunto set my hand

    14       and seal this 29th day of August, 2024.

    15
    16
    17                                                     ___________________________________

    18                                                     CINDY M. KOCH, CCR, RPR, CRR #2357

    19
    20       My commission expires:

    21       JUNE 9, 2025

    22
    23
    24
    25

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